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                                                                               ID: 5613390




                    IN THE UNITED STATES COURT OF APPEALS
                             FOR THE FIRST CIRCUIT

                            APPEAL NO. 11-1259 and 11-1676

                                     UNITED STATES
                                        Appellee

                                              v.

                    ANTONIO ORTIZ-APONTE, a/k/a Gordo Zantac,
                            a/k/a Antonio Aponte-Ortiz

                   ANGEL COLON-DE-JESUS, a/k/a Puri, a/k/a Puritin
                             Defendants-Appellants


            ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO

                        CONSOLIDATED BRIEF FOR APPELLEE


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                    IN THE UNITED STATES COURT OF APPEALS
                             FOR THE FIRST CIRCUIT
                            APPEAL NO. 11-1259 and 11-1676

                                     UNITED STATES
                                        Appellee
                                              v.
                    ANTONIO ORTIZ-APONTE, a/k/a Gordo Zantac,
                            a/k/a Antonio Aponte-Ortiz

                   ANGEL COLON-DE-JESUS, a/k/a Puri, a/k/a Puritin
                             Defendants-Appellants




            ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO

                        CONSOLIDATED BRIEF FOR APPELLEE


      TO THE HONORABLE COURT:

             COMES NOW, the United States of America herein represented through the

      undersigned attorneys, and very respectfully, submits the following Consolidated

      Brief for Appellee:
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                             STATEMENT OF ISSUES ON APPEAL


             I.    Whether Ortiz-Aponte’s Guilty Plea Should Be Set Aside

             II.   Whether The District Court’s Denial Of A Departure Under
                   § 5H1.3 Of The Guidelines Was An Abuse Of Discretion




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                                 STATEMENT OF JURISDICTION

             This is a consolidated appeal from the judgments in Criminal Case No. 10-251

       (JAF).1 The district court exercised jurisdiction over this matter pursuant to 18

       U.S.C. § 3231. The Courts of Appeals have jurisdiction over appeals from final

       orders of the district courts pursuant to 28 U.S.C. § 1291, and jurisdiction over

       appeals filed by defendants from final sentences under 18 U.S.C. § 3742(a). Federal

       Rule of Appellate Procedure 4(b)(1) requires a notice of appeal in a criminal case to

       be filed in the district court within fourteen (14) days following the date of entry of

       the judgment or order.

             Defendant-appellants Angel Colón De Jesús (“Colón De Jesús”) and Antonio

       Ortiz-Aponte (‘Ortiz-Aponte”) (collectively the “defendants”) were sentenced on

       May 16, 2011, and February 8, 2011, respectively, after pleading guilty pursuant to

       plea agreements. D.E. 1154, 1756. Colón De Jesús’ judgment was entered on May

       17, 2011, and he filed a timely notice of appeal on May 30, 2011. D.E. 1760, 1855.

       Ortiz-Aponte’s judgment was entered on February 14, 2011, and he filed a timely

       notice of two days later. D.E. 1187, 1224.



       1.    References to the record will be cited as follows: Docket Entry or Entries
             (D.E.); Page (p.); Pages (pp.); Number (No.); Plea Agreement (PA); Change
             of Plea Hearing Transcript (COP); Sentencing Hearing Transcript (SHT); and
             Pre-Sentence Investigation Report (PSR).
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                                     STATEMENT OF THE CASE

             On July 14, 2010, a grand jury in the District of Puerto Rico charged the

       defendants and 107 others with two (2) Counts. D.E. 3. Count One alleged that from

       2005 to July 14, 2010, the defendants knowingly and intentionally conspired to

       possess with intent to distribute in excess of: one (1) kilogram of heroin, fifty (50)

       grams of crack, five (5) kilograms of cocaine, 100 kilograms of marijuana, and

       detectable amounts of Oxycodone and Alprazolam in violation 21 U.S.C. sections

       841(a)(1), 846, and 860. See id. The defendants and others distributed these

       narcotics in several housing projects in Bayamón, Puerto Rico. See id. The drug

       trafficking organization had a defined hierarchy of leaders, enforcers, runners, sellers,

       drug processors, look-outs, and facilitators and used firearms to protect themselves

       and their enterprise. See id. Colón De Jesús was a leader, manager, and enforcer.

       See id. Ortiz-Aponte was an enforcer and drug processor. See id. Enforcers used

       firearms to protect the conspiracy including its leaders and drug points. See id.

       Count Two charged that from 2005 to July 14, 2010, the defendants, aiding and

       abetting each other, carried and used firearms during and in relation to the drug

       trafficking offense in Count One in violation of 18 U.S.C. §§ 924(c)(1)(A) and 2.

       D.E. 3.




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             The defendants pled guilty to Counts One and Two with plea agreements. The

       parties agreed to recommend a sentence of 168 months imprisonment for Colón De

       Jesús. See Colón De Jesús PA pp. 1-3, 7. With respect to Ortiz-Aponte, the parties

       agreed to recommend 130 months imprisonment assuming a Criminal History

       Category I, or the lower end of the applicable guideline sentencing range (“GSR”) if

       he had a Criminal History Category of II, or higher. See Ortiz-Aponte PA p. 5.

       Colón De Jesús was sentenced to 135 months for Count One and a consecutive

       sentence of 60 months for Count Two, for a total sentence of 195 months. D.E. 1760.

       Ortiz-Aponte was sentenced to 97 months for Count One and a consecutive sentence

       of 120 months for Count 2 for a total of 217 months. D.E. 1187. This consolidated

       appeal followed.2




       2.    The government does not seek to enforce the waiver of appeal provisions in the
             plea agreements. See United States v. Carrasco-De-Jesús, 589 F.3d 22, 26 (1st
             Cir. 2009); United States v. Guadalupe-Rivera, 501 F.3d 17, 20 n. 3 (1st Cir.
             2007).
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                                   STATEMENT OF THE FACTS3

             The defendants agreed that they carried and used firearms while members of

       a conspiracy that, from 2005 to July, 2010, knowingly and intentionally conspired to

       possess with intent to distribute in excess of: one (1) kilogram of heroin, fifty (50)

       grams of crack, five (5) kilograms of cocaine, 100 kilograms of marijuana, and

       detectable amounts of Oxycodone and Alprazolam. See Colón De Jesús PA p. 12;

       Ortiz-Aponte PA p. 11. The object of the conspiracy was to distribute controlled

       substances in housing projects in Bayamón, Puerto Rico. See id. Colón De Jesús was

       a leader of drug trafficking operations at drug points in housing projects and agreed

       to be held responsible for 3.5 kilograms, but less than 5 kilograms of cocaine. See

       Colón De Jesús PA p. 13. Ortiz-Aponte participated in drug distribution and

       provided protection for conspiracy members and profits. See Ortiz-Aponte’s PA pp.

       11-12. He agreed to be held responsible for at least 2 kilograms, but less than 3.5

       kilograms of cocaine. See id. at 12.




       3.    Because this is an appeal from a guilty plea, the facts are taken from the change
             of plea colloquy and the PSR. See United States v. Dávila-González, 595 F.3d
             42, 45 (1st Cir. 2010) (quoting United States v. Vargas, 560 F.3d 45, 47 (1st
             Cir. 2009)); Colón De Jesús COP pp. 25-26; Ortiz-Aponte COP pp. 21-22;
             Colón De Jesús PSR pp. 15-17; Ortiz-Aponte PSR pp. 19-20.
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                                     SUMMARY OF ARGUMENT

             Ortiz-Aponte argues that his guilty plea should be set aside because he was

       never informed of the maximum penalty for Count Two. At the plea hearing the court

       said, “[l]et’s first talk about the statutory penalties, which are the ones that appear in

       Title 21 and Title 18. One of the alternatives for sentence is making use of those

       statutory penalties. If you were to be convicted under the Indictment without a Plea

       Agreement, by that mere fact you are exposing yourself to a statutory mandatory term

       of ten years; a maximum of life imprisonment.” See Ortiz-Aponte COP pp. 12-13.

       Aside from the court’s plural use of “statutory penalties,” the court’s specific

       reference to those “that appear in Title 21 and Title 18” shows that its comments were

       intended to cover both Counts One and Two because Count One alleged only

       violations of Title 21 and the sole violation under Title 18 was Count Two. D.E. 3.

       Therefore, there was no plain error because the district court correctly advised Ortiz-

       Aponte that Counts One and Two carried a maximum statutory penalty of life

       imprisonment.

             Even assuming that Ortiz-Aponte satisfied the first two prongs, fulfilling the

       third prong of plain error requires him to demonstrate a reasonable probability that,

       but for the alleged error, he would not have pled guilty. Ortiz-Aponte says that he

       would not have plead guilty if he was informed that Count Two carried a maximum

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       of life imprisonment and believed he would receive only 60 months. This claim is

       dubious because he was already exposed to life imprisonment for Count One and the

       district court repeatedly advised Ortiz-Aponte that it had “the authority to impose a

       higher sentence or lower sentence” and did not have to follow the sentencing

       recommendation in the plea agreement. See Ortiz-Aponte COP pp. 14-15. The court

       specifically asked Ortiz-Aponte if he understood that the 60 months contemplated in

       the plea agreement was “simply a recommendation” and he said, “[y]es, I

       understand.” See id. at 18. Therefore, Ortiz-Aponte was aware that a sentence of 60

       months for Count Two was a recommendation, not an entitlement, and that he faced

       life imprisonment.

             Ortiz-Aponte argues that the district court erred by not advising him that he

       faced a potential consecutive sentence for a pending local case. Rule 11 does not

       require a district court to inform the defendant of mandatory consecutive sentencing

       and the court’s choice between a consecutive or a concurrent sentence is typically

       discretionary. Therefore, Ortiz-Aponte cannot withstand plain error review under

       these circumstances and these facts did not affect the voluntariness of his guilty plea.

             Ortiz-Aponte argues that the district court clearly erred when it considered a

       2006 firearms conviction as unrelated because it occurred within the time-frame of

       the conspiracy and was listed as relevant conduct in the PSR. Determining whether

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       a defendant’s prior offense is related conduct under U.S.S.G. § 1B1.3 is a

       fact-specific inquiry that involves consideration of several factors such as the

       temporal and geographical proximity of the two offenses, common victims, and a

       common criminal plan or intent. The district court took these factors into account and

       did not clearly err by finding that the 2006 firearm offense was unrelated conduct.

       Once the government established the existence of a prior conviction, the burden

       shifted to the defendant to show that it was constitutionally infirm or otherwise

       inappropriate for consideration. The defense did not meet its burden because its

       contention that the firearm offense was related to the conspiracy was rebutted by the

       prosecutor’s proffer that it was “a separate case” from the investigation that led to the

       federal charges. See Ortiz-Aponte SHT p. 11. The district court considered the

       appropriate factors such as geographical proximity of the two offenses and a common

       criminal plan in making its determination and rejecting the defense’s argument. There

       was no clear error.

             Ortiz-Aponte argues that the district court erred by taking into consideration

       erroneous facts that had nothing to do with the offense conduct, such the high murder

       rate in Puerto Rico, which led to an unreasonable sentence. The district court’s

       reasoning was not erroneous and this Court has repeatedly affirmed consideration of

       similar factors in fashioning an appropriate sentence. He also claims that the district

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       court erred by failing to address him to verify whether the PSR was discussed with

       him and by failing to explain his 10-year sentence for Count Two. Ortiz-Aponte’s

       attorney lodged no objection to the PSR, therefore, any error under Rule 32(i)(1)(A)

       was harmless and did not affect Ortiz-Aponte’s substantial rights. The district court

       properly explained the reasons for its sentence on Count Two. It prioritized Ortiz-

       Aponte’s criminal history, pervasive history of illegal firearms, and the gravity of the

       offense over any mitigating factors and reflected a choice of emphasis.

             Despite admitting that the issue was never addressed in the plea agreement,

       Ortiz-Aponte argues that the government breached the plea agreement by arguing in

       favor of imposing a consecutive federal sentence to the local conviction. The

       government cannot breach a term that it never agreed to. Whether the sentence for

       the Commonwealth firearm charge ran consecutive to his federal sentence was not

       addressed in the plea agreement, therefore, Ortiz-Aponte had no reasonable

       expectation for this recommendation. The government abided faithfully to the terms

       of its written agreement and nothing more was required. Ortiz-Aponte’s conviction

       and sentence should be affirmed.

             The district court did not abuse its discretion by denying Colón De Jesús’

       motion for a departure based on § 5H1.3. A departure based upon a defendant’s

       mental condition are discouraged and requires a finding that the mental condition is

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       extraordinary or atypical. The court heard and considered the arguments for and

       against the departure before finding that Colón De Jesús’ circumstances were not

       atypical. Therefore, there was no clear error and the denial should be affirmed.




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                                            ARGUMENT

             I.     Ortiz-Aponte’s Guilty Plea Should Not Be Set Aside

       The Claim

             Ortiz-Aponte argues that his guilty plea should be set aside because he was

       “never advised of the maximum penalty he faced nor was he informed of [a] possible

       consecutive sentence if convicted for local offenses pending” when his hearing was

       held. See Ortiz-Aponte’s Brief p. 12. He claims that resentencing is warranted

       because the district court committed “multiple procedural errors” by treating a

       “related case as unrelated, taking into consideration improper facts in determining

       [the] sentence to be imposed, failing to explain why it imposed [a] 10 year sentence

       of incarceration in firearms count and failing to inquire if [the] presentence report had

       been reviewed.” See id. at 12-13. He argues that he is entitled to withdraw his guilty

       plea because the prosecutor breached the plea agreement by arguing in favor of

       imposing a consecutive federal sentence to the local conviction. See id. at 13, 29.

       Standard of Review

             Ortiz-Aponte agrees that plain error review applies to the district court’s

       purported Rule 11 errors. See Ortiz-Aponte’s Brief p. 17. There was no objection

       based on a breach of the plea agreement, therefore, plain error review applies to this

       claim too. See United States v. Riggs, 287 F.3d 221, 224 (1st Cir. 2002). To satisfy

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       plain error, he must show an “(1) ‘error,’ (2) that is ‘plain,’ and (3) that ‘affects

       substantial rights.’” United States v. Borrero-Acevedo, 533 F.3d 11, 15 (1st Cir.

       2008). “If all three conditions are met, an appellate court may then exercise its

       discretion to notice a forfeited error, but only if (4) the error ‘seriously affects the

       fairness, integrity, or public reputation of judicial proceedings.’” Id. (quoting

       Johnson v. United States, 520 U.S. 461, 467 (1997)). In United States v. Booker, the

       Supreme Court rendered the sentencing guidelines advisory thus limiting appellate

       review of sentencing decisions to determining whether they were “reasonable.” 543

       U.S. 220, 260 (2005). Therefore, this Court reviews sentences “under a deferential

       abuse-of-discretion standard.” Gall v. United States, 552 U.S. 38, 40 (2007). This

       standard is used regardless of whether the sentence imposed is inside or outside the

       GSR. See id. at 50. A preserved claim of whether conduct was related under

       U.S.S.G. § 1B1.3 is reviewed for clear error. See United States v. Joost, 133 F.3d

       125, 132 (1st Cir. 1998).

       Discussion

             Rule 11 requires the district court to inform a defendant during a plea colloquy

       of “any maximum possible penalty, including imprisonment, fine, and term of

       supervised release.” Fed. R. Crim. P. 11(b)(1)(H) (2010). The Rule 11 safeguards

       are meant to ensure the defendant is fully informed of his rights and to ascertain

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       whether the plea is knowing and voluntary. See United States v. Smith, 511 F.3d 77,

       85 (1st Cir. 2007). This Court does not require the recital of any fixed incantation.

       See United States v. Otero, 277 Fed. Appx. 12, 14 (1st Cir. 2008) (per curiam)

       (unpublished)4 (citing United States v. Cotal-Crespo, 47 F.3d 1, 5 (1st Cir. 1995)).

       Rather, it examines the “totality of the circumstances surrounding the plea to

       determine whether the objectives of the procedural safeguards imposed by Rule 11

       have been satisfied.” See Otero, 277 Fed. Appx. at 14 (citing United States v.

       Negron-Narvaez, 403 F.3d 33, 39 (1st Cir. 2005)). Ortiz-Aponte claims that his

       guilty plea should be set aside because he was “never informed” of the maximum

       penalty for Count Two. See Ortiz-Aponte’s Brief pp. 14-17. The plea agreement

       stated that Ortiz-Aponte faced “a maximum term of life imprisonment” for Count

       One, but provided no maximum penalty for Count Two. See Ortiz-Aponte PA pp. 2-

       3. Ortiz-Aponte acknowledged that he understood that “a consecutive term of

       imprisonment of sixty (60) months is mandatory” and “to be served consecutively to

       the term of imprisonment imposed in Count One.” See id. at 3. At the plea hearing,

       the court said, “[l]et’s first talk about the statutory penalties, which are the ones that

       appear in Title 21 and Title 18. One of the alternatives for sentence is making use of



       4.    This unpublished opinion is being cited for its persuasive value as permitted
             by Local Rule 32.1.0(a).
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       those statutory penalties. If you were to be convicted under the Indictment without

       a Plea Agreement, by that mere fact you are exposing yourself to a statutory

       mandatory term of ten years; a maximum of life imprisonment.” See Ortiz-Aponte

       COP pp. 12-13. Aside from the court’s plural use of “statutory penalties,” it

       specifically referenced those “that appear in Title 21 and Title 18,” which shows that

       its comments were intended to cover both Counts One and Two. See id. Count One

       alleged only violations of Title 21 and the sole violation under Title 18 offense was

       Count Two. D.E. 3. Therefore, the district court correctly advised Ortiz-Aponte that

       Counts One and Two carried a maximum statutory penalty of life imprisonment and

       there was no plain error.5 See Cotal-Crespo, 47 F.3d at 4-5 (“What is critical is the

       substance of what was communicated by the trial court, and what should reasonably

       have been understood by the defendant rather than the form of communication”);

       Ortiz-Aponte COP pp. 12-13.

             Even assuming that Ortiz-Aponte satisfied the first two prongs, fulfilling the



       5.    The district court also stated that Ortiz-Aponte was exposing himself to “a
             statutory mandatory term of ten years.” Ortiz-Aponte COP p. 13. This would
             only be true for the firearm charge if the weapon was discharged rather than
             possessed as here. See 18 U.S.C. § 924(c)(1)(A)(i),(iii) (2010). Nonetheless,
             it is the government’s understanding that based on the court’s specific
             reference to Title 18 and its repeated plural use of “statutory penalties” that it
             intended to inform Ortiz-Aponte that the maximum for Counts One and Two
             was “life imprisonment.” Ortiz-Aponte COP pp. 12-13.
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       third prong of plain error requires him to demonstrate a reasonable probability that,

       but for the alleged error, he would not have pled guilty. See United States v.

       Caraballo-Rodriguez, 480 F.3d 62, 76 (1st Cir. 2007). Ortiz-Aponte suggests that

       he would not have plead guilty if he knew that Count Two carried a maximum of life

       imprisonment. See Ortiz-Aponte’s Brief p. 18. But, he was already exposed to life

       imprisonment for Count One, therefore, any claim that he would not have pled guilty

       if he knew that was also true of Count Two is dubious. See Ortiz-Aponte PA p. 2.

       Ortiz-Aponte’s claim that the “impression created by the language of the plea

       agreement was that he faced a mandatory term of 60 months incarceration not more”

       is belied by the record. See Ortiz-Aponte’s Brief p. 15. The district court told Ortiz-

       Aponte that it had “the authority to impose a higher sentence or lower sentence” and

       did not have to follow the sentencing recommendation in the plea agreement. See

       Ortiz-Aponte COP pp. 14-15. The court specifically asked Ortiz-Aponte if he

       understood that the 60 months contemplated in the plea agreement was “simply a

       recommendation” and he said, “[y]es, I understand.” See id. at 18. This shows that

       Ortiz-Aponte was aware that a sentence of 60 months for Count Two was a

       recommendation, not an entitlement as he now claims.

             Ortiz-Aponte argues that the court’s error “cannot be considered harmless in

       light of” his “ten year sentence.” See Ortiz-Aponte’s Brief p. 12. Ortiz-Aponte was

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       advised that he could receive up to life imprisonment, but received 217 months

       instead and this Court has found Rule 11 errors harmless where, as here, a defendant

       receives a total sentence that is less than the maximum warned about. See, e.g.,

       United States v. Raineri, 42 F.3d 36, 42 (1st Cir. 1994) (“It is true that Raineri might

       not have pled guilty if he had been correctly told that a far larger penalty threatened

       him. But one might ask why the defendant is entitled to complain if the actual

       punishment is no worse than what he was told, and what he was told was even less

       than the law allows. Arguably, such a defendant ought to be pleased with the

       error-unless, for extraneous reasons, he has in the meantime changed his mind about

       making the plea”); see Ortiz-Aponte PA p. 2; D.E. 1187. Therefore, any error was

       harmless.

             Recently, this Court held that the maximum penalty under § 924(c)(1)(A) is life

       imprisonment. See United States v. Ortiz-García, No. 10-2323, 2011 WL 6061352,

       at *4 (1st Cir. Dec. 7, 2011). In that case, the defendant was notified for the first time

       at sentencing that he might receive a life sentence and the omitted information

       “dramatically altered the sentencing stakes for the defendant.” See id. at *6-7. Rather

       than getting the 120 months recommended in the plea agreement, the defendant

       received a sentence threefold greater, 360 months. See id. at *1. The circumstances

       here are different. Ortiz-Aponte received a within-GSR sentence of 97 months for

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       Count One and 120 months for Count Two for a total sentence of 217 months. See

       Ortiz-Aponte SHT p. 16; D.E. 1187. Although higher than the parties’

       recommendation, the circumstances here are not as extreme as those in Ortiz-García

       and the sentence was substantially less than the maximum of life imprisonment.

             Ortiz-Aponte argues that the district court erred under Rule 11 by not advising

       him of “the potential that he faced of a consecutive sentence on the pending local

       case.” See Ortiz-Aponte’s Brief p. 19. “Rule 11 ‘does not require a district court to

       inform the defendant of mandatory consecutive sentencing.’” United States v.

       Molinaro, 428 Fed. Appx. 649, 653 (7th Cir. 2011) (unpublished) (quoting United

       States v. General, 278 F.3d 389, 395 (4th Cir. 2002)); see also United States v.

       Burney, 75 F.3d 442, 445 (8th Cir. 1996); United States v. Ospina, 18 F.3d 1332,

       1334 (6th Cir. 1994); Paradiso v. United States, 482 F.2d 409, 415 (3d Cir. 1973).

       “A sentencing court’s choice between a consecutive or a concurrent sentence with

       respect to a defendant who is subject to an undischarged state-court term of

       imprisonment is normally discretionary.” Carrasco-De-Jesús, 589 F.3d at 27 (citing

       18 U.S.C. § 3584(a)). Ortiz-Aponte cannot withstand plain error review under these

       circumstances because Rule 11 did not require the district court to advise him of the

       potential of a consecutive sentence and it was discretionary to run the federal and

       state sentences consecutively. Therefore, it did not affect the voluntariness of his

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       guilty plea.

             Ortiz-Aponte argues that the district court clearly erred when it considered his

       2006 firearms conviction as a separate offense because it occurred within the time-

       frame of the conspiracy and was listed as relevant conduct in the PSR. See Ortiz-

       Aponte’s Brief pp. 21-24. Determining whether a defendant’s prior offense is related

       conduct under U.S.S.G. § 1B1.3 or a distinct offense is a fact-specific inquiry that

       involves consideration of several factors such as the temporal and geographical

       proximity of the two offenses, common victims, and a common criminal plan or

       intent. See United States v. Correy, 570 F.3d 373, 391 (1st Cir. 2009) (quoting

       United States v. Collazo-Aponte, 216 F.3d 163, 203 (1st Cir. 2000)). The district

       court took these factors into account when it assessed whether the prior conviction

       was relevant conduct.6 The probation officer informed the district court that it

       considered the offense related conduct because it occurred during “the same time” as

       the conspiracy. See Ortiz-Aponte SHT p. 4. The defense argued that it should be

       considered relevant conduct because the arrest arose from “the investigation

       Bayamon was conducting” “[e]ven though the house” where the firearms were found

       was “in Arecibo.” See id. at 5. The defense said that Ortiz-Aponte rented a house in


       6.    Ortiz-Aponte was arrested on April 20, 2006, in Camuy, Puerto Rico for
             possession of several pistols and cocaine and the case was adjudicated in
             Arecibo, Puerto Rico. See Ortiz-Aponte PSR p. 22.
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       Arecibo to stash the firearms because he was an enforcer and “kept arms for the

       organization.” See id. at 6. The district court remained unconvinced and stated that

       it needed “a clear statement here on this record that for sure this stashing of firearms

       in Arecibo had – was related to the Bayamon conspiracy, because if it’s a different

       crime, it’s not relevant conduct; and I’m not letting guns by – I am not going to let

       guns go by easily, no way, because everybody sitting in this courtroom today can be

       a victim of this kind of individual, while even having an espresso coffee innocently

       somewhere. That’s the way it goes. So I need to know.” See id. at 8-9. The district

       court granted a recess so that the prosecutor could contact the case agent. See id. at

       9. Following the adjournment, the prosecutor advised that “the evidence” “was not

       that these firearms were being stashed for the drug trafficking organization of Virgilio

       Davila. This was relating to firearms that were received in [Manatí], and it was a

       prosecution in Arecibo, because [Manatí] is part of the Arecibo jurisdiction.” See id.

       at 10. The prosecutor continued that “the only reason that the firearms would be used

       is to establish that in fact he was in possession of firearms, and those firearms were

       seized in 2006, not that he was stashing firearms for the organization. So the

       relevancy to be used in a trial, for example, would be the fact that he in fact was in

       possession of firearms and that he had firearms.” See Ortiz-Aponte SHT pp. 10-11.

       The government emphasized that “this is separate from the fact of establishing that

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       he was stashing those firearms for the organization itself.” See id. at 11. Therefore,

       the prosecutor said “this is a separate case from what is the investigation of the

       Virgilio Davila” as confirmed by calls with investigating agents even though Ortiz-

       Aponte was carrying them because he was an enforcer for the conspiracy. See id.

       The district court found the government’s argument to be the “only logical

       explanation” because it occurred in a different geographic area and he was arrested

       for his participation in the conspiracy “a lot later.” See id. The district court asked

       if the defense had any other evidence to show that the 2006 firearm offense was

       relevant conduct besides “the mere fact that the only relationship to Bayamon is that

       some sort of Search Warrant was initiated at the request of a Bayamon prosecutor,”

       which did not “mean much.” See id. at 12. The defense said that it had only the

       “evidence” it previously “told” the court. See id. The court held that the offense was

       “non-relevant conduct” and added three criminal history points. See id. at 13.

             The district court did not clearly err by finding that the 2006 firearm offense

       was unrelated conduct. “Once the government establishes the existence of a prior

       conviction, the burden shifts to the defendant to show that the earlier conviction was

       constitutionally infirm or otherwise inappropriate for consideration.” United States

       v. Serrano-Beauvaix, 400 F.3d 50, 54 (1st Cir. 2005) (quoting United States v.

       Barbour, 393 F.3d 82, 93 (1st Cir. 2004)). The defense did not do so here because

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       its contention that the firearm offense was related to the conspiracy was rebutted by

       the prosecutor’s proffer that it was “a separate case” from the investigation that led

       to the federal charges. See Ortiz-Aponte SHT p. 11. The district court’s detailed

       colloquy showed that it considered the appropriate factors such as geographical

       proximity of the two offenses and a common criminal plan or intent in making its

       determination and rejecting the defense’s argument. See Serrano-Beauvaix, 400 F.3d

       at 54. There was no clear error.

             Ortiz-Aponte argues that the district court erred by considering “erroneous

       facts that had nothing to do with” the “offense conduct” such the high murder rate in

       Puerto Rico, which led to an unreasonable sentence. See Ortiz-Aponte’s Brief pp. 22-

       23, 25-26. The district court’s consideration of the “unacceptable violence on this

       island” and the numerous “murders committed by individuals who basically have

       weapons in violation of the law” was not erroneous and this Court has repeatedly

       affirmed consideration of similar factors in fashioning an appropriate sentence. See

       United States v. Pulido, 566 F.3d 52, 64 (1st Cir. 2009) (finding no error where the

       district court emphasized the “danger” that defendant’s “crimes posed to society”);

       United States v. Gilman, 478 F.3d 440, 447-48 (1st Cir. 2007) (observing district

       court’s “consideration of the harm caused to society by Gilman’s conduct” and noting

       that the court “was permissibly weighing the comparative harms caused by those

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       crimes in an effort to impose a ‘just punishment for the offense’ under Section

       3553(a)(2)(A)”); see Ortiz-Aponte’s SHT p. 7.

             Ortiz-Aponte claims that the district court erred by failing to address him to

       verify whether the PSR was discussed with him and by failing to explain his 10-year

       sentence for Count Two. See Ortiz-Aponte’s Brief pp. 26-27. “Federal Rule of

       Criminal Procedure 32(i)(1)(A) requires a sentencing court to ‘verify that the

       defendant and the defendant's attorney have read and discussed the presentence

       report.’” United States v. Nguyen, 618 F.3d 72, 74 (1st Cir. 2010) (quoting Fed. R.

       Crim. P. 32(i)(1)(A) (2010)). The record is silent as to this inquiry although the court

       confirmed with Ortiz-Aponte’s attorney that there were no objections to the report.

       See Ortiz-Aponte SHT p. 3. Ortiz-Aponte claims that this error “combined with the

       other procedural errors committed” means that remand and resentencing is

       appropriate. See Ortiz-Aponte’s Brief p. 27. This is insufficient under plain error

       review because Ortiz-Aponte must show that this error affected his substantial rights,

       which he has not done here. See Borrero-Acevedo, 533 F.3d at 15; see also United

       States v. Esparza-Gonzalez, 268 F.3d 272, 273-74 (5th Cir. 2001) (requiring showing

       of prejudice for Rule 32(i)(1)(A) error). Additionally, where, as here, it is clear from

       the record that Ortiz-Aponte’s counsel was thoroughly familiar with the PSR, the

       Court “will not assume that defense counsel did not discuss so critically important a

       document with his client, especially since appellant claims no such dereliction.” See

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       United States v. Cruz, 981 F.2d 613, 620 (1st Cir. 1992). Since Ortiz-Aponte’s

       attorney lodged no objection to the PSR, any error under 32(i)(1)(A) was harmless

       and did not affect Ortiz-Aponte’s substantial rights. See United States v. Dickerson,

       514 F.3d 60, 65 (1st Cir. 2008) (“if the error is harmless, it cannot be plain”).

             The district court properly explained the reasons for its sentence on Count Two

       when it detailed Ortiz-Aponte’s criminal history in the PSR, which included

       numerous firearm offenses and a first degree murder charge. See Ortiz-Aponte SHT

       pp. 14-16; Ortiz-Aponte PSR pp. 22-23. The court emphasized these “surprising

       encounters, and very surprising dispositions” of his extensive criminal history. See

       Ortiz-Aponte SHT p. 16. The court also discussed the gravity of the offense earlier

       and its harmful societal effects. See id. at 7. The court’s reasoning prioritized Ortiz-

       Aponte’s criminal history, pervasive history of illegal firearms, and the gravity of the

       offense over any mitigating factors and reflected a choice of emphasis. See United

       States v. Zapata, 589 F.3d 475, 488 (1st Cir. 2009) (“The court’s decision to

       emphasize the nature of the crime over the mitigating factors was a ‘choice of

       emphasis’ that is ‘not a basis for a founded claim of sentencing error’”) (quoting

       United States v. Rodríguez, 525 F.3d 85, 110 (1st Cir. 2008)). “Where the record

       permits a reviewing court to identify both a discrete aspect of an offender’s conduct

       and a connection between that behavior and the aims of sentencing, the sentence is

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       sufficiently explained to pass must under section 3553(c).” United States v.

       Fernández-Cabrera, 625 F.3d 48, 54 (1st Cir. 2010).

             Despite admitting that the issue was “never addressed” in the plea agreement,

       Ortiz-Aponte argues that the government breached the plea agreement by arguing in

       favor of imposing a consecutive federal sentence to the local conviction.7 See Ortiz-

       Aponte’s Brief pp. 19, 27-29. This Court holds “prosecutors engaging in plea

       bargaining to the most meticulous standards of both promise and performance.” See

       Riggs, 287 F.3d at 225. However, the prerequisite to that standard is that there first

       be a promise. The government cannot breach a term that it never agreed to. The

       prosecutor stated that when it “entered into the agreement, he made sure that it

       indicated that it were to run consecutive as to any other sentence, because he was

       aware that he had pled guilty in this case” and “that is the wording that he used in the

       sentence, that it be consecutive.” See Ortiz-Aponte SHT p. 12. The defense argued

       why the sentence should not be consecutive, but did not dispute the government’s

       contention. See id. The government’s statement was correct because when Ortiz-

       Aponte pled guilty trial was set for his Commonwealth firearm offense and he had not


       7.    Ortiz-Aponte also argues that the government breached the plea agreement
             “when it failed to uphold” the “recommended guideline agreed upon in the
             plea.” Ortiz-Aponte’s Brief p. 29. The government stated that it stood by
             the recommendation in the plea agreement at sentencing. See Ortiz-Aponte
             SHT p. 14.
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       even been sentenced yet. See Ortiz-Aponte COP pp. 19-20. Ortiz-Aponte pled guilty

       to this offense one month after pleading guilty to his federal offense. See Ortiz-

       Aponte PSR p. 22.        Therefore, neither the parties nor the plea agreement

       memorialized the future outcome of Ortiz-Aponte’s firearm offense. The integration

       clause in paragraph 21 of the plea agreement does not prove any breach and

       demonstrates just the opposite. See Ortiz-Aponte’s Brief p. 28; Ortiz-Aponte PA p.

       8. Whether the Commonwealth firearm sentence ran consecutive to his federal

       sentence was not addressed in the plea agreement, therefore, Ortiz-Aponte had no

       reasonable expectation for any recommendation for that charge. The fact that he

       “assumed” that the Commonwealth firearm offense would be relevant conduct is not

       tantamount to a breach. See Ortiz-Aponte’s Brief p. 28. The “government abided

       faithfully by the clear terms of its written agreement” and nothing more was required.

       See United States v. Guzman, 85 F.3d 823, 829 (1st Cir. 1996); United States v.

       Hogan, 862 F.2d 386, 388 (1st Cir. 1988).            It made no promises for the

       Commonwealth charges, which were outside its jurisdictional purview. Ortiz-

       Aponte’s conviction and sentence should be affirmed.




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             II.    The District Court’s Denial Of A Departure Under § 5H1.3 Of
                    The Guidelines Was Not An Abuse Of Discretion

       The Claim

             Colón De Jesús argues that the district court abused its discretion when it

       denied his request for a departure under U.S.S.G. § 5H1.3. See Colón De Jesús’ Brief

       pp. 15-17. He claims that the district court clearly erred by finding his personal

       characteristics typical, which made his sentence unreasonable. See id. at 17.

       Standard of Review

             Departure decisions are reviewed for abuse of discretion and the attendant

       factual findings are reviewed for clear error. See United States v. Walker, No. 10-

       1092, 2011 WL 5865652, at *14 (1st Cir. Nov. 23, 2011); see also Koon v. United

       States, 518 U.S. 81, 96-100 (1996). The Court affords “substantial deference to most

       departure decisions.” United States v. Craven, 239 F.3d 91, 98 (1st Cir. 2001).

       Discussion

             “[S]entencing courts have substantial leeway regarding degrees of departure.”

       United States v. Brewster, 127 F.3d 22, 31 (1st Cir. 1997). Section 5H1.3 of the

       Guidelines provides that mental and emotional conditions “may be relevant in

       determining whether a departure is warranted, if such conditions, individually or in

       combination with other offender characteristics, are present to an unusual degree and


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       distinguish the case from the typical cases covered by the guidelines.” U.S.S.G. §

       5H1.3 (2010).     A departure “based upon a defendant’s mental condition are

       discouraged.” United States v. Maldonado-Montalvo, 356 F.3d 65, 74 (1st Cir.

       2003). In order to qualify, “the sentencing court must first make a finding that the

       mental condition is extraordinary or atypical.” See id. The district court did not

       abuse its discretion because it heard and considered the arguments for and against the

       departure before making a finding that Colón De Jesús’ circumstances were not so

       unusual to warrant a departure.

             Colón De Jesús argued that a departure under § 5H1.3 was warranted because

       of his borderline intellectual functioning, minimal cerebral dysfunction, suicide

       attempts, history of head trauma, psychological and environmental problems, and

       personality disorder. D.E. 1712. The PSR described a history of mental health and

       emotional issues as well as Colón De Jesús’ extensive drug abuse since childhood.

       See Colón De Jesús’ PSR pp. 22-23. At sentencing, defense counsel argued that

       Colón De Jesús’ mental health warranted a departure. See Colón De Jesús SHT pp.

       3-5, 10-11. The district court added that a competency evaluation prepared by the

       Bureau of Prisons (“BOP”) “concluded voluntary malingering and personality

       disorder with antisocial features.” See id. at 5. The government argued that Colón

       De Jesús’ leadership role did not conform with a mental “defect” and also referenced

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       the BOP report that concluded Colón De Jesús was malingering and did not suffer

       from a mental defect. See id. at 12. The court denied Colón De Jesús’ motion for a

       departure and found that his circumstances were not atypical. See id. at 15. The court

       said, “I don’t think there’s anything on this record that allows me to find that the

       characteristics in this case are unusual or that they are distinguished from the typical

       participation of a defendant in a typical case covered by the guidelines. So therefore

       I will not make use of the 5H1.3 guideline.” See id. On the one hand, the court was

       presented with an unfortunate background of pervasive drug use and mental and

       emotional issues. See PSR pp. 22-23; D.E. 1712. On the other hand, there was a

       diagnosis of malingering and a leadership role in criminal behavior that did not

       comport with a severe mental deficiency. See Colón De Jesús SHT pp. 5, 12. The

       court ultimately concluded that Colón De Jesús’ circumstances were not atypical and

       denied the request. See id. at 15. This was not clearly erroneous because “‘when two

       or more legitimate interpretations of the evidence exist, the factfinder’s choice

       between them cannot be deemed clearly erroneous.’” United States v. Wright, 582

       F.3d 199, 208 (1st Cir. 2009) (quoting United States v. Espinoza, 490 F.3d 41, 46 (1st

       Cir. 2007)). Colón De Jesús’ claim that the district court “should have refused to

       give preferential weight to the BOP” report is unavailing. See Colón De Jesús’ Brief

       pp. 15-16. The district court had the discretion to rely on the report and Colón De

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       Jesús has made no showing that the facts therein were clearly erroneous.

             Colón De Jesús’ claim that his mental and emotional conditions were atypical

       from the average defendant is unpersuasive. See Colón De Jesús’ Brief pp. 16-17.

       This Court has affirmed the denial of downward departures and found there were no

       extraordinary circumstances justifying a mental health departure for reasons similar

       to those presented here. See, e.g., United States v. Lauzon, 938 F.2d 326, 333 (1st

       Cir. 1991) (defendant’s “borderline intelligence” insufficient to warrant § 5H1.3

       departure); United States v. Sklar, 920 F.2d 107, 116-17 (1st Cir. 1990) (post-arrest

       rehabilitation insufficient); United States v. Deane, 914 F.2d 11, 14 n. 2 (1st

       Cir.1990) (family ties insufficient); United States v. Studley, 907 F.2d 254, 258 (1st

       Cir.1990) (mental or emotional condition insufficient); United States v. Williams, 891

       F.2d 962, 965-66 (1st Cir. 1989) (history of addiction insufficient). The district court

       appropriately considered Colón De Jesús’ evidence, but did not find it persuasive.

       See United States v. Sicher, 576 F.3d 64, 74 (1st Cir. 2009) (“The record

       demonstrates that the district court in fact did consider the defendant's mental health

       evidence, but simply did not find it persuasive”). Therefore, the court did not abuse

       its discretion and its denial should be affirmed.




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                                         CONCLUSION

             For the above stated reasons, Ortiz-Aponte’s conviction and the defendants’

       sentences should be affirmed.

             RESPECTFULLY SUBMITTED.

             In San Juan, Puerto Rico, this 25th day of January, 2012.

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                                        FOR THE FIRST CIRCUIT
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                  11-1676                                APPELLEE
                                                                 V.

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